UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK

JAMEL PRATT, Cyr 2p ey 4° oy

Plaintiff, COMPLAINT
~against- JURY TRIAL
DEMANDED
THE CITY OF NEW YORK, NEW YORK CITY
POLICE DEPARTMENT, P.O. ALEXIS PONCE GLEESON, J.

(Shield Number 7910) and P.O. JOHN DOE
(Name and Shield Number Presently Unknown),

Defendants.

Plaintiff, JAMEL PRATT, by his attorney, ROBERT J. DIGLANNI JR., as and for his

complaining of the defendants, hereby alleges the following:
PRELIMINARY STATEMENT

1. Plaintiff JAMEL PRATT brings this action for compensatory damages, punitive
damages and attorney’s fees pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988 for violation of his
civil rights, as said rights are secured by said statutes and the Constitutions of the State of New York
and the United States.

JURISDICTION

2. The action is brought pursuant to 42 U.S.C. § 1983, § 1985 and § 1988, and the
Fourth and Fourteenth Amendments to the United States Constitution. Jurisdiction is conferred upon
this Court by 28 U.S.C. §§ 1331, 1343(3) and (4) and the aforementioned statutory and constitutional
provisions.

3. Plaintiff JAMEL PRATT further invokes this Court’s supplemental jurisdiction,

pursuant to 28 U.S.C. § 1367, over any and all State law claims and causes of action which derive
from the same nucleus of operative facts and are part of the same case or controversy that gives rise
to the federally based claims and causes of action.
VENUE

4. Venue is proper for the United States District Court for the Eastern District of New
York, pursuant to 28 U.S.C. § 1391(a), (b), (c) and § 1402(b) because the claims arose in this district
and Plaintiff JAMEL PRATT resides in this district.

JURY DEMAND

5. Plaintiff JAMEL PRATT respectfully demands a trial by jury of all issues in this

matter pursuant to Fed.R.Civ.P. 38(b).
THE PARTIES

6. Plaintiff, JAMEL PRATT (“Mr. Pratt”), is and was at all relevant times hereto a
citizen of the United States and a resident of the County of Kings and State of New York.

7. Defendant, City of New York (“City”), is a municipal corporation duly organized and
existing under and by virtue of the laws of the State of New York.

8. Defendant, New York City Police Department (“NYPD”), is a charter agency of the
City authorized to perform law enforcement functions in and for the City. Defendant City maintains
the NYPD, a duly authorized public authority and/or police department, authorized to perform all
functions of a police department as per the applicable sections of the New York State Criminal
Procedure Law, acting under the direction and supervision of the aforementioned municipal
corporation, City of New York.

9. Defendant, Police Officer ALEXIS PONCE (Shield Number 7910) (P.O. Ponce”), is

and was at all times relevant hereto an employee of The City, duly appointed and acting as a police
officer in NYPD, acting in the course and scope of his employment as such and in furtherance of the
interests and business of said employer.

10. Defendant, Police Officer JOHN DOE (Full name and Shield Number Presently
Unknown), is and was at all times relevant hereto an employee of The City, duly appointed and
acting as a police officer in NYPD, acting in the course and scope of his employment as such and in
furtherance of the interests and business of said employer.

11. Defendant, P.O. Ponce, et ano., refers to known and unknown named police officers
who were at all relevant times hereto employees of defendant NYPD and were acting under the
supervision of said department and according to their official duties.

12. _ That at all times relevant herein, P.O. Ponce was a supervisory employee of, and an
agent, servant and/or employee of The City, acting in the course and scope of his employment as
such and in furtherance of the interests and business of said employer, and otherwise performed and
engaged in conduct incidental to the performance of his functions in the course of his duties. He is
sued individually and in his supervisory capacity.

13. That at all times mentioned herein, the individual defendants were acting under color
of state law, to wit, under color of statutes, ordinances, regulations, policies, customs and usages of
The City and the State of New York.

14. _—_—‘ That at all times relevant herein, the City operated, maintained, managed, supervised
and controlled a police department as part of and in conjunction with its municipal functions.

15. That at all times relevant herein, P.O. Ponce et. ano. were employees of The City and
NYPD and that The City and NYPD are responsible for the actions and conduct of the individual
defendants under the theory of respondeat superior.

16. That at all times relevant herein, P.O. Ponce was personnel of The City and NYPD.
17. That at all times hereinafter mentioned and upon information and belief, The City and
NYPD employed and supervised P.O. Ponce.

18. | Upon information and belief, P.O. Ponce was a graduate of the Police Academy of
The City of New York, where they received training and instruction set forth and sanctioned by The
City and NYPD. Further, while at The Police Academy and intermittently thereafter, Patrol Officers
and Police Officers including the named defendants receive training and instruction formulated by
The City and NYPD and said training includes instruction as to custom and practice of The City and
NYPD and same relates to the arrest procedure and procedure surrounding stops and frisks. Said
custom and practice, and said training and instruction regarding arrests, stops and frisks, by the very
nature of the custom and practice violate the civil rights of the public, including the plaintiff herein,
and said custom and practice infringe upon the rights of the public at large, including the plaintiff
herein. In this subject case, the enforcement of the said custom and practice did in fact violate the
rights of the plaintiff herein.

19. At all times relevant hereto, The City had the duty to competently and sufficiently
train, within the Police Academy and at the Command, Precinct and Patrol levels, P.O. Ponce, to
conform his conduct to a standard for the protection of individuals, such as plaintiff, against the
unreasonable risk of harm by conducting himself in such a manner so as not to intentionally,
wantonly and/or negligently inflict injuries to citizens such as plaintiff herein.

20. = Atall times relevant hereto, The City had the duty to competently and sufficiently
train within the Police Academy and at the Command, Precinct and Patrol levels, P.O. Ponce, in the
protections of the rights of plaintiff under the Constitution and the Bill of Rights.

21. At all times hereinafter mentioned, upon information and belief, P.O. Ponce was

acting in his capacities as employee, agent or servant of The City.
22. At all times hereinafter mentioned, P.O. Ponce was acting under color of law.

23.  Atall times hereinafter mentioned, the defendants’ acts constituted state action.

24. That at all times hereinafter mentioned, P.O. Ponce was on duty and/or acting as
employees, agents or servants of The City and were also present at the same time and in the same
place as plaintiff as aforesaid.

STATEMENT OF FACTS

25. That or about December 24, 2011, Mr. Pratt was a lawful citizen abiding by all laws,
statutes and ordinances of the State of New York and the United State of America.

26. That on or about December 24, 2011, at approximately 2:00 p.m. Mr. Pratt was
lawfully within the confines of an apartment building (“premises”) located at 445 Fountain Avenue
in the County of Kings and State of New York.

27. That on or about December 24, 2011, Mr. Pratt, was the lawful guest of his friend
Giovanni Quinones, who was also lawfully within the premises.

28. That on or about December 24, 2011, Mr. Pratt was lawfully within the confines of
the premises for dinner with Giovanni Quinones’ family.

29. That on or about December 24, 2011, Mr. Pratt and Giovanni Quinones left the
apartment to travel to Mr. Pratt’s residence located at 768 Logan Street, in the County of Kings and
State of New York.

30. That on or about December 24, 2011, without cause or justification Mr. Pratt and
Giovanni were unlawfully stopped and detained by defendant police officers.

31. | That on or about December 24, 2011, while Mr. Pratt and Giovanni Quinones were
still within the premises, P.O. Ponce and other officers of the 75" Precinct subjected Mr. Pratt to

unwarranted questioning, a humiliating and invasive public search, were rude and unprofessional.
32. That on or about December 24, 2011, P.O. Ponce told Mr. Pratt that she and her
partner were not going to arrest him.

33. That on or about December 24, 2011, defendant police officers handcuffed Mr. Pratt.

34. That on or about December 24, 2011, P.O. Ponce falsely and baselessly alleged that
Mr. Pratt was trespassing along with Giovanni.

35. That on or about December 24, 2011, defendant police officers, without any cause or
evidence, falsely arrested and imprisoned Mr. Pratt.

36. That on or about December 24, 2011, P.O. Ponce told Mr. Pratt that she saw him on
the roof, despite the fact that Mr. Pratt was never on the roof of the premises.

37. | That on or about December 24, 2011, Mr. Pratt was arrested in the lobby of the
premises.

38. That on or about December 24, 2011, P.O. Ponce’s partner did not want to arrest Mr.
Pratt.

39. That on or about December 24, 2011, defendant police officers charged Mr. Pratt with
PL 140.10(A) (criminal trespass in the third degree) and PL 140.05 (Trespass); (Docket No.:
2012KN006624; NYSID No.: 0091831K).

40. That on or about December 24, 2011, defendant police officers unlawfully detained
Mr. Pratt at the 75" Precinct Station House for approximately nine (9) hours and then transported
him to Central Booking.

41. That on or about December 24, 2011, Mr. Pratt’s unlawful imprisonment continued at
Central Booking for approximately thirteen (13) hours, totaling approximately twenty two (22) hours

of unlawful imprisonment.
42. That on or about December 24, 2011, Mr. Pratt was released from custody and the
false charges against him were dismissed.

43. That on or about December 24, 2011, there was and remains no evidence to support or
justify the arrest of Mr. Pratt.

44, That on or about December 24, 2011, defendant police officers, without cause or
justification, insulted, humiliated, brutalized, battered, assaulted, falsely arrested and unlawfully
imprisoned Mr. Pratt.

45. That on or about December 24, 2011, as a result of aforementioned actions, Mr. Pratt
was caused to sustain personal injuries, pain and suffering, embarrassment, humiliation, and
emotional distress due to the negligence, recklessness and/or intentional acts of the defendants within
the scope of their employment.

46. That at all relevant times herein, Mr. Pratt continuously acted in accordance with all
police officers requests despite the frequent physical, verbal and emotional harassment and abuse by
defendants.

47. That on or about December 24, 2011, P.O. Ponce made false representations,
accusations, allegations and complaints concerning Mr. Pratt to agents, servants and/or employees of
NYPD and The City and the Kings County District Attorney’s Office acted on the representations of
the defendants herein and initiated criminal proceedings against the plaintiff herein. Furthermore,
the defendants knew that the District Attorney’s Office would rely upon their representations and the
defendants knew that the District Attorney’s Office would file criminal charges and prosecute the
plaintiff based upon their representations and the allegations and facts that these named individual

defendants communicated to the District Attorney’s Office.
48. Additionally, the individual defendants knew that the allegations that they
communicated to the District Attorney’s Office were false, exaggerated, inaccurate and untrue but
they communicated said allegations nonetheless, knowing that plaintiff would be subjected to a
criminal prosecution and knowing that the plaintiff's freedom and liberty would be jeopardized and,
if convicted upon the false charges, plaintiff would be incarcerated, thereby losing his freedom and
liberty. As will be discussed infra, the individually named defendants, state actors, were acting
pursuant to a policy, custom and practice, which was formulated, designed and implemented by the
defendant City and NYPD, and which policy, custom and practice required the individually named
defendants to make a certain, predetermined number and amount of arrests each week, month and
year, irrespective of the conditions or lack of criminal conduct that existed in their precinct or sector
during their shifts or tours.

49. That these policies, customs and practices also encouraged, taught, instructed and/or
required police officers to make arrests, stops, detentions and to target members of the public based
on their appearance, race, ethnicity and irrespective of their conduct, lawful or otherwise, thereby
violating the rights of the public, including the plaintiff herein.

50. These policies, customs and practices were designed and formulated by the
defendants City and NYPD and implemented and effectuated by its officers, by their very nature
violated the rights of the public, and violated the rights of the plaintiff herein.

51. Thatat all times relevant herein, the agents, servants and/or employees of NYPD and
The City, including, but not limited to, P.O. Ponce, knew or reasonably should have known that Mr.

Pratt was innocent of all allegations against him.
52.  Thatat all times relevant herein, the agents, servants and/or employees of NYPD and
The City, including, but not limited to, P.O. Ponce, actually knew or reasonably should have known
that the allegations against Mr. Pratt were fabricated and fraudulent.

53. That at all times relevant herein, the agents, servants and/or employees of NYPD and
The City, including, but not limited to, P.O. Ponce, conspired to fraudulently and maliciously accuse
Mr. Pratt of crimes of which he was innocent (“malfeasance”).

54. That defendants knew, and/or reasonably should have known, that there was no basis
whatsoever to charge Mr. Pratt under the false charges.

55. Moreover, the complete and utter lack of merit and baseless nature of any conceivable
criminal investigation and/or criminal prosecution of Mr. Pratt was readily apparent and patently
obvious to all defendants but yet said criminal investigation and/or criminal prosecution of Mr. Pratt
continued unabated, causing serious injury to Mr. Pratt and infringing, violating and rupturing his
civil rights.

56. That defendants’ their agents, servants, and/or employees unlawfully and falsely
arrested and imprisoned Mr. Pratt in furtherance to the malfeasance.

57. That at all times relevant herein, P.O. Ponce used excessive force and physical force
upon Mr. Pratt causing him to sustain severe and permanent injuries, despite the fact that plaintiff did
not pose a threat to the physical safety of either officer, or to the public at large, or to any third party.
Furthermore, the defendants used excessive force against the plaintiff despite the plaintiff's
submissive and non-threatening conduct, which was duly deferential and respectful of the
defendants’ apparent authority as law enforcement officers and/or state actors engaged in a law

enforcement capacity.
58. That at all times relevant herein, during the unlawful apprehension, detention, arrest,
imprisonment, assault and battery of Mr. Pratt, the NYPD police officers used excessive,
unnecessary and unwarranted force upon Mr. Pratt, without his consent and without justification or
legal basis.

59. That at all times relevant herein, notwithstanding that the apprehension, arrest,
detention and imprisonment was unjust, unwarranted, without cause, with excessive force and
unlawful, Mr. Pratt complied with the officers’ commands and did not resist.

60. That at all times relevant herein, defendants, their agents, servants and/or employees,
while acting in concert, maliciously and with the intent to injure Mr. Pratt, and without just cause or
any right to do so, handcuffed, detained, jailed and restrained Mr. Pratt against his will, thereby
depriving him of his liberty.

61. That the criminal charges filed against Mr. Pratt were falsely and maliciously
fabricated by defendants, their agents, servants and/or employees based on false and incomplete
information provided by defendants, their agents, servants and/or employees, in violation of Mr.
Pratt’s civil rights and in furtherance of the malfeasance.

62. That at all times relevant herein, P.O. Ponce, with disregard for proper, lawful,
appropriate, correct and effective investigative behaviors and procedures, investigated, stopped,
detained, accused, arrested and charged Mr. Pratt when it was not right, just, lawful, proper or
necessary to do so.

63. Thatatall times relevant herein, defendants, their agents, servants and/or employees
had no cause or basis to stop, question or search Mr. Pratt.

64. That at all times relevant herein, P.O. Ponce falsely arrested Mr. Pratt for no reason

and without probable cause to do so.
65. That at all times relevant herein, P.O. Ponce placed Mr. Pratt under arrest for crimes
that he did not commit.

66. That at all times relevant herein, Mr. Pratt was innocent of the false charges made
against him further to the malfeasance.

67. That at all times relevant herein, defendants, their agents, servants and/or employees
acted maliciously and intentionally.

68. Thatat all times relevant herein, the arrest, assault, battery and detention of Mr. Pratt
were unlawful, unwarranted and unjustified.

69. _ That at all times relevant herein, defendants, their agents, servants and/or employees
knew or should have known that Mr. Pratt was innocent of the crime charged.

70.‘ That at all times herein mentioned, and without proof that Mr. Pratt was in any way
connected to a crime, or that any crime was, in fact, committed, and without reasonable suspicion to
stop Mr. Pratt, and without probable cause to detain or arrest Mr. Pratt, defendants, their agents,
servants and/or employees individually, and acting in concert, knowingly, unlawfully, wrongfully
and in furtherance of the malfeasance fabricated the false charges against Mr. Pratt and set these
charges forth in false and fabricated criminal complaints, falsely sworn by the defendant police
officers.

71. | Thecriminal complaint and reports against plaintiff were and are false and fraudulent.

72. Based upon the false criminal complaint and complaint reports prepared, upon
information and belief, by the defendant employees, the Criminal Court arraigned Mr. Pratt on the

false charges.
73. That at all times herein, defendants, their agents, servants and/or employees, all of
whom were acting in the performance of their employment, within the scope of their authority and in
furtherance of policies and practices implemented by The City and NYPD.

74, That at all times herein, said policies and practices included the implementation of a
quota system with respect to the quantity of arrests expected and/or required of its police officers,
including the aforesaid police officers.

75.‘ That at all times herein, said policy and practice violated the civil rights of the public,
including Mr. Pratt herein.

76. That at all times herein, defendants, their agents, servants and/or employees who
participated in the arrest and investigation, imprisonment and prosecution of Mr. Pratt were
following a custom and practice of retribution and retaliation taken on behalf of P.O. Ponce against
Mr. Pratt.

77. That at all times herein, P.O. Ponce caused the unlawful investigation of Mr. Pratt and
the false arrest, unlawful imprisonment and malicious prosecution.

78. That at all times herein, defendants, their agents, servants and/or employees have an
unlawful policy and practice that utilizes racial profiling when conducting investigations and
performing its duties.

79. That Mr. Pratt was released from Central Booking after seeing the judge.

80. That Mr. Pratt was required to repeatedly appear in court to defend himself from the
false charges.

81. That the alleged charges against Mr. Pratt were subsequently dismissed.

82. Mr. Pratt has suffered and continues to suffer psychological and emotional injuries

and damage as a result of the events described herein.
83. That the aforesaid assault, battery and abuse of authority was not the first incident
wherein P.O. Ponce, et ano. committed acts of misconduct while on duty as members of NYPD.

84. That NYPD and The City had actual and constructive notice of P.O. Ponce’s
propensities for violence and misconduct but failed to do anything to mitigate the danger that their
continued employment presented to the public at large, including the plaintiff herein.

85. That at all times relevant herein, the NYPD and The City did fail to train and/or
retrain and/or reinstruct P.O. Ponce after acquiring notice of their defective and dangerous
propensities. The NYPD and The City did negligently hire, retain and train the individually named
police officer defendants to the detriment of the public and to the plaintiff herein.

86. | Byreason of the foregoing acts of the defendants, and as a direct and proximate result
of the acts of the defendants, Mr. Pratt suffered severe and permanent personal injuries and damages,
and upon information and belief, will continue to suffer pain in the future.

87. By reason of the foregoing acts of the defendants, Mr. Pratt was caused severe and
intense emotional and psychological anguish, distress and embarrassment and will continue to suffer
same in the future.

88. By reason of the foregoing, Mr. Pratt was compelled to and did necessarily, require
medical attention and did necessarily pay and become liable therefore, and will necessarily continue
to incur similar expenses in the future.

89. By reason of the foregoing, Mr. Pratt was compelled to, and did necessarily incur
legal fees and did necessarily pay and become liable therefore, and will necessarily incur similar

legal fees in the future.
FIRST CAUSE OF ACTION
FALSE ARREST

90. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 89, inclusive, of this Complaint, with the same force and effect as though more
fully set forth at length herein.

91. | Defendants had no probable cause to believe that plaintiff had committed a crime and
plaintiff did not engage in any conduct that warranted his arrest.

92. Asaresult of the aforesaid conduct by defendants, Mr. Pratt was subjected to an
illegal, improper and false arrest by the defendants and taken into custody and caused to be falsely
imprisoned, detained and confined without probable cause, privilege or consent.

93. By reason of their aforesaid conduct, defendants falsely arrested the plaintiff and
thereby violated his rights under New York state law and under the Fourth and Fourteenth
Amendments to the United States Constitution.

94. That solely as a result of the negligence, recklessness and/or intentional acts of
defendants as aforesaid, Mr. Pratt suffered great humiliation, degradation, emotional injuries; loss of
freedom; deprivation of his state and federal constitutional rights; serious, severe and permanent
personal injuries and disabilities; pain and suffering and loss of enjoyment of life; economic harm;
was rendered sick, sore, lame and disabled; sustained severe mental anguish, nervous shock and
great physical pain and has been damaged accordingly in an amount exceeding the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.
+SECOND CAUSE OF ACTION
UNLAWFUL IMPRISONMENT

95. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 94, inclusive, of this Complaint, with the same force and effect as though more
fully set forth at length herein.

96. By reason of defendants’ aforesaid conduct, plaintiff was detained without his consent
and defendants knew he was detained against his consent.

97. That solely as a result of the negligence, recklessness and/or intentional acts of
defendants as aforesaid, Mr. Pratt suffered great humiliation, degradation, emotional injuries; loss of
freedom; deprivation of his state and federal constitutional rights; serious, severe and permanent
personal injuries and disabilities; pain and suffering and loss of enjoyment of life; economic harm;
was rendered sick, sore, lame and disabled; sustained severe mental anguish, nervous shock and
great physical pain and has been damaged accordingly in an amount exceeding the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.

THIRD CAUSE OF ACTION
AGAINST INDIVIDUAL DEFENDANTS

VIOLATION OF CIVIL RIGHTS AFFORDED BY
42 U.S.C. §1983, §1985 AND §1988
98. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 97, inclusive, of this Complaint, with the same force and effect as though more
fully set forth at length herein.

99. The defendants, acting in concert and individually and under the color of law, have

deprived the plaintiff of his civil, constitutional and statutory rights and have conspired to deprive
the plaintiff of such rights under 4" and 14" amendments and are liable to the plaintiff under the 5"
amendment, 8" amendment, 42 U.S.C. §1983, §1985 and §1985.

100. Asa result of the foregoing, plaintiff suffered injuries including but not limited to
severe and permanent personal physical injuries, loss of freedom, loss of enjoyment of life, had his
civil rights violated, severe and permanent emotional injuries, severe and permanent psychological
injuries, anguish, distress, humiliation, embarrassment, shame, lost earnings, medical expenses and
legal expenses and claims damages for the aforesaid injuries and accordingly has been damaged in an
amount exceeding the jurisdictional limits of all lower courts which would otherwise have
jurisdiction.

FOURTH CAUSE OF ACTION
MUNICIPAL LIABILITY AGAINST DEFENDANTS CITY OF NEW YORK
AND NEW YORK CITY POLICE DEPARTMENT
VIOLATION OF CIVIL RIGHTS AFFORDED BY
42 U.S.C. §1983, §1985 AND §1988

101. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 100, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

102. Defendants The City and NYPD knew or should have known of its employees, agents
and/or servants propensity to engage in the illegal and wrongful acts detailed above.

103. Prior to the dates of occurrence as set forth herein, The City and NYPD developed
and maintained policies and/or customs exhibiting deliberate indifference to the constitutional rights

of persons in the City of New York, which policies and/or customs caused the violation of the

plaintiff's rights.
104. At all relevant times herein, while at The Police Academy and intermittently
thereafter, Patrol Officers and Police Officers including the named defendants receive training and
instruction formulated by The City and NYPD and said training includes instruction as to custom and
practice of The City and NYPD and same relates to the arrest procedure and procedure surrounding
stops and frisks. Said custom and practice, and said training and instruction regarding arrests, stops
and frisks, by the very nature of the custom and practice violate the civil rights of the public,
including the plaintiff herein, and said custom and practice infringe upon the rights of the public at
large, including the plaintiff herein. In this subject case, the enforcement of the said custom and
practice did in fact violate the rights of the plaintiff herein.

105. Prior to and including the dates of occurrences as set forth herein, upon information
and belief, The City and NYPD developed and maintained policies and/or customs contributing to
the causation of the subject incidents and the plaintiff's injuries, such as racial profiling and the use
and enforcement of a quota system with respect to stops, frisks, searches, police encounters,
investigations and arrests.

106. Upon information and belief, it was the policy and/or custom of The City and NYPD
to improperly and inadequately investigate citizen and other complaints of police misconduct, and
acts of misconduct were instead tolerated by The City and NYPD, including, but not limited to the
incidents where defendants and their supervisors have in the past falsely arrested individuals without
probable cause, and made, and allowed other fellow police officers and others of its employees to
make false entries in official police department records, and to issue false and fraudulent criminal
complaints and accusatory instruments, to cover up and hide their wrongful conduct.

107. It was the policy and/or custom of The City and NYPD to fail to take the steps to

discipline, train, supervise or otherwise correct the improper, illegal conduct of the individual
defendants in this and in similar cases involving misconduct, thereby failing to adequately
discourage further constitutional violations on the part of its police officers. The City and NYPD did
not require appropriate in-service training or re-training of officers who were known to have engaged
in police misconduct.

108. Asaresult of the above described policies and/or customs, police officers of NYPD
believed that their actions would not be properly monitored by supervisory officers and that
misconduct would not be investigated or sanctioned, but would be tolerated.

109. The above policies and/or customs demonstrated a deliberate indifference on the part
of the policymakers of The City and NYPD to the constitutional rights of persons within the City of
New York and were the cause of the violations of the plaintiff's rights alleged herein.

110. Asa result of the foregoing, plaintiff suffered injuries including but not limited to
severe and permanent personal physical injuries, loss of freedom, loss of enjoyment of life, had his
civil rights violated, severe and permanent emotional injuries, severe and permanent psychological
injuries, anguish, distress, humiliation, embarrassment, shame, lost earnings, medical expenses and
legal expenses and claims damages for the aforesaid injuries and accordingly has been damaged in an
amount exceeding the jurisdictional limits of all lower courts which would otherwise have
jurisdiction.

FIFTH CAUSE OF ACTION
UNREASONABLE AND EXCESSIVE FORCE
VIOLATION OF CIVIL RIGHTS AFFORDED BY
42 U.S.C. §1983, §1985 AND §1988
111. Plaintiff repeats, reiterates and realleges each and every allegation set forth in

paragraphs 1 through 110, inclusive, of this Complaint, with the same force and effect as though

more fully set forth at length herein.
112. By their conduct, defendants under color of law deprived Mr. Pratt of his
constitutional rights to be free from excessive and unreasonable force.

113. Plaintiff claims compensatory and punitive damages for the injuries set forth above
and accordingly has been damaged in an amount exceeding the jurisdictional limits of all lower

courts which would otherwise have jurisdiction.

SIXTH CAUSE OF ACTION
ASSAULT AND BATTERY

114. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 113, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

115. Byreason of defendants’ aforesaid acts, specifically in the course of their false arrest
and imprisonment of the plaintiff, defendants committed the torts of assault and battery upon him.

116. Thatat all relevant times herein, defendants, their agents, servants and/or employees
were under a duty to protect Mr. Pratt from the violation of his civil rights, menacing, assault,
battery, excessive force, brutality, and/or other intentional acts, negligence, recklessness and/or want
of care in his unlawful detention and/or arrest by the NYPD police officers committing said acts.

117. Thatatall relevant times herein, defendants, their agents, servants and/or employees
menaced, assaulted, battered, and used excessive force, maliciousness and brutality in the arrest,
detention and custody of Mr. Pratt.

118. That at all relevant times herein, defendants, their agents, servants and/or employees
caused Mr. Pratt to reasonably apprehend that he was about to be harmfully and offensively

contacted in his arrest and detention.
119. That at all relevant times herein, defendants, their agents, servants and/or employees
offensively contacted and harmed Mr. Pratt during his arrest and detention.

120. Thatat all relevant times herein, defendants, their agents, servants and/or employees
acted in an unsafe and unreasonable manner in the arrest, detention and custody of Mr. Pratt under
the circumstances and conditions then and there existing.

121. That atall relevant times herein, defendants, their agents, servants and/or employees
were negligent, reckless and intentional in their failure to protect Mr. Pratt from the violation of his
civil rights, menacing, assault, battery, excessive force and brutality in his arrest and/or detention.

122. That solely as a result of the negligence, recklessness and/or intentional acts of
defendants as aforesaid, plaintiff suffered injuries including but not limited to severe and permanent
personal physical injuries, loss of freedom, loss of enjoyment of life, had his civil rights violated,
severe and permanent emotional injuries, severe and permanent psychological injuries, anguish,
distress, humiliation, embarrassment, shame, lost earnings, medical expenses and legal expenses and
claims damages for the aforesaid injuries and accordingly has been damaged in an amount exceeding
the jurisdictional limits of all lower courts which would otherwise have jurisdiction.

123. That solely as a result of the negligence, recklessness and/or intentional acts of
defendants as aforesaid, Mr. Pratt suffered great humiliation, degradation, emotional injuries; loss of
freedom; deprivation of his state and federal constitutional rights; serious, severe and permanent
personal injuries and disabilities; pain and suffering and loss of enjoyment of life; economic harm;
was rendered sick, sore, lame and disabled; sustained severe mental anguish, nervous shock and
great physical pain and has been damaged accordingly in an amount exceeding the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.
SEVENTH CAUSE OF ACTION
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

124. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 123, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

125. By their foregoing acts, specifically their false arrest and unlawful imprisonment of
him, their assault and battery upon him, defendants intended to and did cause the foregoing harm to
plaintiff.

126. That at all times relevant herein, defendants, their agents, servants and/or employees
acted intentionally and/or with a reckless disregard for the likelihood of causing emotional distress to
plaintiff in fraudulently and maliciously pursuing the malfeasance, including all acts further thereto
as set forth above.

127. That at all times relevant herein, defendants, their agents, servants and/or employees
acted intentionally and/or with a reckless disregard for the likelihood of causing emotional distress to
plaintiff in being verbally abusive, intimidating and threatening to him.

128. That at all times relevant herein, defendants, their agents, servants and/or employees
acted heinously and beyond the standards of civilized decency.

129. That at all times relevant herein, defendants, their agents, servants and/or employees’
conduct was utterly intolerable in a civilized society.

130. That atall times relevant herein, defendants, their agents, servants and/or employees
committed these acts in public.

131. That solely as a result of the negligence, recklessness and/or intentional acts of

defendants as aforesaid, Mr. Pratt suffered great humiliation, degradation, emotional injuries; loss of
freedom; deprivation of his state and federal constitutional rights; serious, severe and permanent
personal injuries and disabilities; pain and suffering and loss of enjoyment of life; economic harm;
was rendered sick, sore, lame and disabled; sustained severe mental anguish, nervous shock and
great physical pain and has been damaged accordingly in an amount exceeding the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.

EIGHTH CAUSE OF ACTION
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

132. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 131, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

133. That at all times relevant herein, defendants, their agents, servants and/or employees
were under an affirmative duty to refrain from abusing their power and position and from
fraudulently and maliciously pursuing the malfeasance, including all acts further thereto as set forth
above.

134, That at all times relevant herein, defendants, their agents, servants and/or employees
knew or reasonably should have known that the malfeasance could lead to plaintiff's harm.

135. That at all times relevant herein, plaintiff justifiably relied upon defendants, their
agents, servants and/or employees to conduct themselves properly as public officials and not to abuse
their power and position in the manner as set forth above.

136. That at all times relevant herein, defendants, their agents, servants and/or employees

breached their duty to plaintiff by abusing their power and position as set forth above.
137. That at all times relevant herein, defendants, their agents, servants and/or employees
were under an affirmative duty to treat plaintiff with courtesy, professionalism and respect.

138. That at all times relevant herein, defendants, their agents, servants and/or employees
knew or reasonably should have known that failing and/or refusing to treat plaintiff with courtesy,
professionalism and respect could lead to his harm under the circumstances then and there existing.

139. That at all times relevant herein, plaintiff justifiably relied upon defendants, their
agents, servants and/or employees to treat him with courtesy, professionalism and respect.

140. That at all times relevant herein, defendants, their agents, servants and/or employees
breached their duty to plaintiff in being verbally abusive, intimidating and threatening to him and his
family.

141, That solely as a result of the negligence of defendants as aforesaid, Mr. Pratt suffered
injuries including but not limited to severe and permanent emotional injuries, severe and permanent
psychological injuries, anguish, distress, humiliation, embarrassment, shame, severe and permanent
personal physical injuries, loss of enjoyment of life, had his civil rights violated, lost earnings,
medical expenses and legal expenses and claims damages for the aforesaid injuries and accordingly
has been damaged in an amount exceeding the jurisdictional limits of all lower courts which would

otherwise have jurisdiction.

NINTH CAUSE OF ACTION
FAILURE TO INTERVENE

142. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 141, inclusive, of this Complaint, with the same force and effect as though

more fully set forth at length herein.
143. Each and every individual defendant had an affirmative duty to intervene on Mr.
Pratt’s behalf to prevent the violation of his constitutional rights.

144. The individual defendants failed to intervene on Mr. Pratt’s behalf to prevent the
violation of his constitutional rights despite having had a realistic opportunity to do so.

145. Asa result of the aforementioned conduct of the individual defendants, Mr. Pratt’s
constitutional rights were violated and he was subjected to excessive force, causing him to suffer
injuries including but not limited to severe and permanent emotional injuries, severe and permanent
psychological injuries, anguish, distress, humiliation, embarrassment, shame, severe and permanent
personal physical injuries, loss of enjoyment of life, had his civil rights violated, lost earnings,
medical expenses and legal expenses and claims damages for the aforesaid injuries and accordingly
has been damaged in an amount exceeding the jurisdictional limits of all lower courts which would
otherwise have jurisdiction.

TENTH CAUSE OF ACTION
MALICIOUS ABUSE OF PROCESS UNDER 42 U.S.C. § 1983

146. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 145, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

147, Defendants abused the legal process to place Mr. Pratt under arrest.

148. Defendants arrested Mr. Pratt in order to obtain a collateral objective outside the
legitimate ends of the legal process.

149. Defendants acted with intent to do harm to Mr. Pratt without excuse or justification.

150. That solely as a result of the negligence, recklessness and/or intentional acts of

defendants as aforesaid, Mr. Pratt suffered great humiliation, degradation, emotional injuries; loss of
freedom; deprivation of his state and federal constitutional rights; serious, severe and permanent
personal injuries and disabilities; pain and suffering and loss of enjoyment of life; economic harm;
was rendered sick, sore, lame and disabled; sustained severe mental anguish, nervous shock and
great physical pain and has been damaged accordingly in an amount exceeding the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.

ELEVENTH CAUSE OF ACTION
DELAY AND DENIAL OF MEDICAL TREATMENT AND FAILURE

TO PROTECT WHILE IN CUSTODY
VIOLATION OF CIVIL RIGHTS AFFORDED BY
42 U.S.C. §1983, §1985 AND §1988

151. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 150, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

152. By their conduct and under color of law, defendants deprived Mr. Pratt of his
constitutional rights to immediate medical treatment and failed to protect him once he became a
prisoner, thus perpetuating and exacerbating his physical and mental pain and suffering.

153. Asa result of the foregoing, plaintiff suffered injuries including but not limited to
severe and permanent personal physical injuries, loss of freedom, loss of enjoyment of life, had his
civil rights violated, severe and permanent emotional injuries, severe and permanent psychological
injuries, anguish, distress, humiliation, embarrassment, shame, lost earnings, medical expenses and
legal expenses and claims damages for the aforesaid injuries and accordingly has been damaged in an

amount exceeding the jurisdictional limits of all lower courts which would otherwise have

jurisdiction.
TWELFTH CAUSE OF ACTION
NEGLIGENT HIRING AND RETENTION

154. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 153, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

155. Upon information and belief, defendants failed to use reasonable care in the hiring
and retention of the aforesaid defendants who conducted and participated in the arrest of Mr. Pratt.

156. Defendants knew, or should have known in the exercise of reasonable care, the
propensities of the individual defendants to engage in the wrongful conduct heretofore alleged in this
Verified Complaint.

157. That solely as a result of the negligence, recklessness and/or intentional acts of
defendants as aforesaid, Mr. Pratt suffered great humiliation, degradation, emotional injuries; loss of
freedom; deprivation of his state and federal constitutional rights; serious, severe and permanent
personal injuries and disabilities; pain and suffering and loss of enjoyment of life; economic harm;
was rendered sick, sore, lame and disabled; sustained severe mental anguish, nervous shock and
great physical pain and has been damaged accordingly in an amount exceeding the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.

THIRTEENTH CAUSE OF ACTION
NEGLIGENT TRAINING AND SUPERVISION

158. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs | through 157, inclusive, of this Complaint, with the same force and effect as though

more fully set forth at length herein.
159. Upon information and belief, defendants failed to use reasonable care in the training
and supervision of the aforesaid defendants who conducted and participated in the arrest of Mr. Pratt.

160. That solely as a result of the negligence, recklessness and/or intentional acts of
defendants as aforesaid, Mr. Pratt suffered great humiliation, degradation, emotional injuries; loss of
freedom; deprivation of his state and federal constitutional rights; serious, severe and permanent
personal injuries and disabilities; pain and suffering and loss of enjoyment of life; economic harm;
was rendered sick, sore, lame and disabled; sustained severe mental anguish, nervous shock and
great physical pain and has been damaged accordingly in an amount exceeding the jurisdictional

limits of all lower courts, which would otherwise have jurisdiction.

FOURTEENTH CAUSE OF ACTION
MALICIOUS PROSECUTION

161. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 160, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

162. Asaresult of the foregoing malicious prosecution, plaintiff suffered injuries including
but not limited to severe and permanent personal physical injuries, loss of freedom, loss of
enjoyment of life, had his civil rights violated, severe and permanent emotional injuries, severe and
permanent psychological injuries, anguish, distress, humiliation, embarrassment, shame, lost
earnings, medical expenses and legal expenses and claims damages for the aforesaid injuries and
accordingly has been damaged in an amount exceeding the jurisdictional limits of all lower courts

which would otherwise have jurisdiction.
FIFTEENTH CAUSE OF ACTION
NEGLIGENCE

163. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 162, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

164. That defendants were negligent in the false arrests, unlawful imprisonments and
malicious prosecution of Mr. Pratt; in failing to use such care in the performance of police duties as a
reasonably prudent and careful police officer would have used under similar circumstances without
any negligence on the part of Mr. Pratt contributing thereto; and defendants were negligent in hiring
and retaining a persons who were unfit to serve as police officers and who they knew or should have
known had dangerous propensities and lack of proper temperament, in that defendants failed to
exercise reasonable precautions in employing the aforesaid police officers and failing to properly
investigate their background and that these police officers were otherwise unfit to serve as police
officers for defendants; and defendants were negligent in its instructions of its police officers b not
exercising care in instructing them as to their deportment, behavior and conduct as police officers
and representatives of defendants and in training and instructions, among other things of the proper
conduct of police officers in making an arrest and what they should do following an arrest of an
individual.

165. That defendants are liable for the conduct of their agents, servants and/or employees
by virtue of respondeat superior.

166. As aresult of the foregoing, plaintiff suffered injuries including but not limited to
severe and permanent personal physical injuries, loss of freedom, loss of enjoyment of life, had his

civil rights violated, severe and permanent emotional injuries, severe and permanent psychological
injuries, anguish, distress, humiliation, embarrassment, shame, lost earnings, medical expenses and
legal expenses and claims damages for the aforesaid injuries and accordingly has been damaged in an
amount exceeding the jurisdictional limits of all lower courts which would otherwise have

jurisdiction.

SIXTEENTH CAUSE OF ACTION
PUNITIVE DAMAGES

167. Plaintiff repeats, reiterates and realleges each and every allegation set forth in
paragraphs 1 through 166, inclusive, of this Complaint, with the same force and effect as though
more fully set forth at length herein.

168. Due to the above, Mr. Pratt should be awarded punitive damages as against the
defendants in an amount exceeding the jurisdictional limits of all lower courts, which would

otherwise have jurisdiction.

WHEREFORE, plaintiff, JAMEL PRATT, demands judgment against the defendants stated
herein under the first cause of action in an amount exceeding the jurisdictional limits of all lower
courts, which would otherwise have jurisdiction over this matter; under the second cause of action in
an amount exceeding the jurisdictional limits of all lower courts, which would otherwise have
jurisdiction over this matter; under the third cause of action in an amount exceeding the jurisdictional
limits of all lower courts, which would otherwise have jurisdiction over this matter; under the fourth
cause of action in an amount exceeding the jurisdictional limits of all lower courts, which would
otherwise have jurisdiction over this matter; under the fifth cause of action in an amount exceeding
the jurisdictional limits of all lower courts, which would otherwise have jurisdiction over this matter;

under the sixth cause of action in an amount exceeding the jurisdictional limits of all lower courts,
which would otherwise have jurisdiction over this matter; under the seventh cause of action in an
amount exceeding the jurisdictional limits of all lower courts, which would otherwise have
jurisdiction over this matter; under the eighth cause of action in an amount exceeding the
jurisdictional limits of all lower courts, which would otherwise have jurisdiction over this matter,
under the ninth cause of action in an amount exceeding the jurisdictional limits of all lower courts,
which would otherwise have jurisdiction over this matter, under the tenth cause of action in an
amount exceeding the jurisdictional limits of all lower courts, which would otherwise have
jurisdiction over this matter, under the eleventh cause of action in an amount exceeding the
jurisdictional limits of all lower courts, which would otherwise have jurisdiction over this matter,
under the twelfth cause of action in an amount exceeding the jurisdictional limits of all lower courts,
which would otherwise have jurisdiction over this matter, under the thirteenth cause of action in an
amount exceeding the jurisdictional limits of all lower courts, which would otherwise have
jurisdiction over this matter, under the fourteenth cause of action in an amount exceeding the
jurisdictional limits of all lower courts, which would otherwise have jurisdiction over this matter,
under the fifteenth cause of action in an amount exceeding the jurisdictional limits of all lower
courts, which would otherwise have jurisdiction over this matter, and under the sixteenth cause of
action in an amount exceeding the jurisdictional limits of all lower courts, which would otherwise
have jurisdiction over this matter, together with the co isbursements of this action.

Dated: Brooklyn, New York
December 22, 2014

By:

ROBERT J. DI G{ANMi JR., ESQ.
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